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            EXHIBIT F
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                                                                     New York              Paris
                                                                     Northern California   Madrid
                                                                     Washington DC         Hong Kong
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Antonio J. Perez-Marques

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Via Email

                                                          July 19, 2020

Re:       WhatsApp, Inc. et al. v. NSO Group Techs. Ltd. et al., 4:19-cv-7123 (N.D. Cal.)

Joseph N. Akrotirianakis
King & Spalding LLP
633 West Fifth Street, Suite 1600
Los Angeles, CA 90071

Dear Joe,

I am writing to follow up on my letter of July 14, 2020 and to request, once again, that you identify
a time when you (or your colleagues) are available to meet and confer regarding the issues
addressed in that letter.

As you know, we had indicated in my letter of July 9 that we believed we had a fundamental
disagreement and, unless your clients abandoned their improper objections, would require Court
intervention. You suggested in response that further meet-and-confer discussions were
warranted, a suggestion that we accepted in good faith. Yet, since that time, you have rejected
each and every time offered by Plaintiffs and have not offered any available times of your own,
other than a window that, when accepted by Plaintiffs, you promptly withdrew. Indeed, I believe
we proposed conferring every day of last week, and in each case either received no response at
all or an excuse as to why the date would not work:

         On Friday, July 10, I suggested that we meet and confer on Monday, July 13, to which
          you responded that you were unavailable due to a court appearance. I offered to speak
          after your court appearance (notwithstanding the late hour on the East coast), but you
          indicated again that you were “not going to be able to do it after court” due to another
          “obligation.”

         You suggested instead that we could speak on Tuesday, July 14, but you never
          proposed an actual time when you were available. Instead, the first we heard from you
          was your announcement at 5:06pm PST that you were “signing off for the day.”

         I then sent my letter on Tuesday, July 14, asking for convenient times to meet and confer
          in the coming days. I offered two full days during which Plaintiffs’ counsel could make
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        themselves available. We did not receive a response, either to the letter or to the request
        to confer.

       On Wednesday, July 15, I again asked for a convenient time to meet-and-confer and
        proposed the following day, Thursday, July 16. You again demurred, noting that you
        could not assemble the (unspecified) necessary participants and that you “ha[d]n’t gotten
        all the way through [the] 7-page letter” I had sent the day before.

       You proposed speaking on Friday after 1:30pm Pacific, yet when I accepted your
        proposal and suggested a time of 2:00pm, in your offered window, you declined, this time
        pointing to the motion to dismiss decision.

We understand that we all have multiple matters and competing obligations. At a certain point,
however, this pattern begins to look like deliberate foot-dragging, and the failure to confer begins
to look like a refusal to do so. Our concern in that respect is heightened by your stated position
that you do not believe your clients should be obligated to produce discovery at this time.

As you know, the Court has denied Defendants’ motion to stay, so that objection is now off the
table. Your clients’ objection as to the scope of discovery, which we also consider improper,
continues to present in our view a fundamental dispute that we expect will require Court
intervention. We are prepared, however, to engage in a further meet-and-confer discussion to
explore whether we are able to resolve it on our own. As noted in my July 14 letter, that
objection is in any event no obstacle to (or basis to refuse) producing the documents that you
concede are relevant—namely all documents pertaining to the use of Pegasus against the 1,400
users, as further specified in Appendix A of my July 14 letter.

We look forward to your proposal of one or more times tomorrow, Monday July 20, or Tuesday
July 21, when you or your colleagues are available to confer. I can make myself available any
time after 9am tomorrow, or on Tuesday between 8:00 and 11:00am or after 2pm, all times
Pacific.

Plaintiffs continue to reserve all rights.

                                                        Very truly yours,

                                                        /s/ Antonio J. Perez-Marques

                                                        Antonio J. Perez-Marques
